



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        South Carolina
          Department of Social Services, Respondent,
      
    
  

v.

  
    
      
        Tammi A.,
          Douglas H., and John Doe, Defendants,
        Of whom Tammi A.
          is the Appellant.
        In the interest of a minor child under the age of 18.
      
    
  


Appeal From Horry County
Timothy H. Pogue, Family Court Judge

Unpublished Opinion No.&nbsp; 2011-UP-088
  Submitted March 1, 2011  Filed March 3,
2011

AFFIRMED


  
    
      
        Daniel A. Selwa, II, of North Myrtle Beach,
          for Appellant.
        Ernest Joseph Jarrett, of Kingstree, for
          Respondent.
        Carolyn R. Hills, of Myrtle Beach, for
          Guardian ad Litem.
      
    
  

PER CURIAM: Tammi A. appeals from the family court's final order terminating her parental
  rights to her minor child.&nbsp; See S.C. Code Ann. § 63-7-2570 (2010).&nbsp; Upon a thorough review of the
  record and the family court's findings of fact and conclusions of law pursuant
  to Ex Parte Cauthen, 291 S.C. 465, 354 S.E.2d 381 (1987), we find no
  meritorious issues warrant briefing.&nbsp; Accordingly, we affirm the family court's
  ruling. 
AFFIRMED.[1]
SHORT,
  WILLIAMS AND CURETON, JJ. concur.



[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

